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                         UNITED STATES DISTRICT COURT
   9
                       SOUTHERN DISTRICT OF CALIFORNIA
  10
     MATT PASQUINELLI and BRYAN                Case No.: 22-cv-0723 AJB BLM
  11 PAYSEN, Individually and on Behalf of
     All Others Similarly Situated,            ORDER GRANTING JOINT
  12                                           MOTION REGARDING MOTIONS
                                Plaintiffs,    FOR LEAD PLAINTIFF AND
  13                                           APPROVAL OF SELECTION OF
            v.                                 LEAD COUNSEL
  14
     HUMBL, LLC, BRIAN FOOTE,
  15 JEFFREY HINSHAW, and GEORGE
     SHARP,
  16
                               Defendants.
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       JOINT MOTION REGARDING MOTIONS LEAD PLAINTIFF AND APPROVAL OF SELECTION OF LEAD
                                         COUNSEL
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   1        WHEREAS, on May 19, 2022, Plaintiffs Matt Pasquinelli and Bryan Paysen
   2 commenced the above-captioned action (the “Action”) by filing a complaint against
   3 the above-captioned Defendants, alleging violations of the federal securities laws;
   4        WHEREAS, the Action is governed by the Private Securities Litigation
   5 Reform Act of 1995 (“PSLRA”), 15 U.S.C. §78u-4(a)(3)(B)(iii), pursuant to which
   6 any member of the putative Class was entitled to seek appointment as Lead Plaintiff
   7 and approval of their selection of Lead Counsel on or before the statutory motion
   8 deadline of July 19, 2022;
   9        WHEREAS, on July 19, 2022, multiple members of the putative Class filed
  10 motions pursuant to the PSLRA seeking appointment as Lead Plaintiff and approval
  11 of their respective selections of Lead Counsel: (i) Xiong Xiao (“Xiao”), proposing
  12 The Rosen Law Firm P.A. as Lead Counsel (ECF No. 9); (ii) Matt Pasquinelli
  13 (“Pasquinelli”), proposing Scott+Scott Attorney at Law (“Scott+Scott”) as Lead
  14 Counsel (ECF No. 10); (iii) Tracy Davis (“Davis”), proposing Glancy Prongay and
  15 Murray LLP as Lead Counsel (ECF No. 11); (iv) Brandon Berry (“Berry”),
  16 proposing Bragar Eagel & Squire P.C. as Lead Counsel (ECF No. 12); (v) Alfred
  17 Miller (“Miller”), proposing Roche Freedman LLP (“Roche Freedman”) as Lead
  18 Counsel (ECF No. 13); and (vi) Amit Patel (“Patel”), proposing Pomerantz LLP as
  19 Lead Counsel (ECF No. 14);
  20        WHEREAS, on August 1, 2022, movant Patel filed a notice of non-opposition
  21 to the competing motions (ECF No. 16);
  22        WHEREAS, on August 10, 2022, movants Davis, Xiao, and Berry each filed
  23 notices of non-opposition to the competing motions (ECF Nos. 17, 18, 19);
  24        WHEREAS, following the non-opposition filings, only movants Pasquinelli
  25 and Miller continue to seek appointment as Lead Plaintiffs and approval of their
  26 selection of counsel as Lead Counsel;
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         JOINT MOTION REGARDING MOTIONS FOR LEAD PLAINTIFF AND APPROVAL OF SELECTION
                                      OF LEAD COUNSEL
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   1          WHEREAS, the PSLRA, provides, inter alia, that the most adequate plaintiff
   2 to serve as Lead Plaintiff is, in the determination of the Court, the “person or group
   3 of persons” who has the largest financial interest in the relief sought by the class and
   4 otherwise satisfies the relevant requirements of Rule 23 of the Federal Rules of Civil
   5 Procedure;
   6          WHEREAS, 15 U.S.C. §78u-4(a)(3)(B)(iv) provides that, subject to the
   7 approval of the Court, the most adequate plaintiff will select and retain counsel to
   8 represent the class;
   9          WHEREAS, movants Pasquinelli and Miller have each provided a signed,
  10 sworn Certification in support of their respective motion setting forth, inter alia,
  11 their transactions in HUMBL common stock (see ECF Nos. 10-4, 13-3), with
  12 movant Pasquinelli additionally identifying transactions associated with the
  13 cryptocurrency BLOCKS ETX product that is subject to the complaint (ECF. No.
  14 10-4);
  15          WHEREAS, movants Pasquinelli and Miller have prima facie demonstrated
  16 their adequacy and typicality within the meaning of Rule 23 of the Federal Rules of
  17 Civil Procedure;
  18          WHEREAS, by virtue of his Class Period transactions in HUMBL common
  19 stock, movant Miller has a larger financial interest in the relief sought by the
  20 Common Shares Purchaser Class in this Action than Pasquinelli;
  21          WHEREAS, by virtue of his Class Period transactions in BLOCKS ETX
  22 products, movant Pasquinelli has a larger financial interest in the relief sought by the
  23 BLOCKS ETX Purchaser Class in this Action than Miller;
  24          WHEREAS, having reviewed one another’s submissions to the Court,
  25 movants Pasquinelli and Miller accordingly believe it is in the best interests of the
  26 Class to serve as Co-Lead Plaintiffs and for their selections of Roche Freedman and
  27 Scott+Scott to serve as Co-Lead Counsel;
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          JOINT MOTION REGARDING MOTIONS FOR LEAD PLAINTIFF AND APPROVAL OF SELECTION
                                       OF LEAD COUNSEL
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   1        WHEREAS, counsel for Miller and counsel for Pasquinelli have worked
   2 together effectively and efficiently in other securities class action cases and the
   3 Manual for Complex Litigation advises that efforts by “attorneys [to] coordinate
   4 their activities without the court’s assistance . . . should be encouraged.” MANUAL
   5   FOR COMPLEX LITIGATION   §10.22 (4th ed. 2004);
   6        The Court grants as follows:
   7        1.     Movants Pasquinelli and Miller are hereby appointed as Co-Lead
   8 Plaintiffs in this Action and any subsequently filed or transferred actions that are
   9 consolidated with this Action, pursuant to 15 U.S.C. §78u-4(a)(3)(B); and
  10        2.     Co-Lead Plaintiffs’ selections of Roche Freedman and Scott+Scott as
  11 Co-Lead Counsel are hereby approved.
  12         IT IS SO ORDERED.
  13 Dated: August 12, 2022
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         JOINT MOTION REGARDING MOTIONS FOR LEAD PLAINTIFF AND APPROVAL OF SELECTION
                                      OF LEAD COUNSEL
